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                                                         Exhibit A to the Complaint
Location: Hoffman, NJ                                                                                    IP Address: 173.70.51.228
Total Works Infringed: 25                                                                                ISP: Verizon Fios
 Work      Hashes                                                               UTC              Site           Published     Registered   Registration
 1         Info Hash: 8FCE7D42A6556C1B82F12839B018885BBCF4DB6D                          06-29-   Blacked        08-05-2019    08-27-2019   PA0002213302
           File Hash:                                                                     2022   Raw
           D2A14C9B3227E4A4B1815A18E02EB1FF7428574E2604DF93DDA9C74A0B8F7ECF           04:23:22
 2         Info Hash: 2C071D5726E41EDE6397DC9647BF1DB9CC406DF1                          06-29-   Vixen          04-09-2017    06-05-2017   PA0002052836
           File Hash:                                                                     2022
           8084D754CFF1A160219A91F7B51F5DDA8685F015A637F13F7B5B1667765CA31B           04:23:05
 3         Info Hash: CCD9AF74ABFA16F1A5545AC82686F6F30B6F8183                          06-29-   Vixen          09-26-2019    10-01-2019   PA0002217354
           File Hash:                                                                     2022
           17A9B318D7D3E8C951917E3AC5341DD69123602006E701D5D325E7BC65C88AB4           04:22:18
 4         Info Hash: 0CEAC20A97C692BE4BA6F6D3DBBBF98215436658                          06-29-   Blacked        03-01-2018    04-12-2018   PA0002091580
           File Hash:                                                                     2022
           EE61A84D0A948253FD2F89A37ADDACF7AEC34DAB37A805E22DB0402EB300FC11           04:22:12
 5         Info Hash: B038E50CE96EA99AC02E1BCF051643E7314A3667                          06-29-   Blacked        09-12-2018    11-01-2018   PA0002143426
           File Hash:                                                                     2022
           72EAA4CC3AC4AF5B8AA2AD7BE38FAEC63017FABD2E62BA4876A94B5E05131F37           04:22:01
 6         Info Hash: 992FDDD2DE50632349443D9DA5DE56C05C7BE204                          06-29-   Blacked        05-10-2017    06-22-2017   PA0002039285
           File Hash:                                                                     2022
           C37448342684445A514A781FDE1DB7B2F63FAAB9039F8BCDF30716B4430D936F           04:21:54
 7         Info Hash: 30C2E5EEEBDF45D9C83127199FE070EEB091A96C                          06-26-   Blacked        10-19-2020    11-05-2020   PA0002263389
           File Hash:                                                                     2022   Raw
           363C657260C54421DB941EE3B5764CF3DD8788F6570BF153BC16E19E0081CDC7           14:30:52
 8         Info Hash: 258A333186260AC7DE6EEFC19E6A53AB6FDB3F27                          06-26-   Blacked        07-20-2020    08-11-2020   PA0002252263
           File Hash:                                                                     2022   Raw
           4BC166B220C589E13AA09A8778779D95155F0AEE33FE2033B06D11C826B8C9F9           01:40:21
 9         Info Hash: 4B9E0DF0E3594DC1E77FE5C08FA2A6FEA65979DC                          05-23-   Blacked        02-26-2019    03-31-2019   PA0002163980
           File Hash:                                                                     2022   Raw
           6D0B00FE6045563EFFA36214E2784DFAE617E37E8DBCA72A35C1F9D1D75D314F           00:47:55
 10        Info Hash: FA9D6E2E36E410E91262751BF876177EB68AC8F9                          02-18-   Tushy          01-10-2021    02-09-2021   PA0002276153
           File Hash:                                                                     2022
           EB9E17DAE379436C5C320B4F6D686051E5E07DE9C5FF77B54FDDE8BF45A4900A           21:40:28
 11        Info Hash: CA2BD24A9E144AAC283890A9F9FBF3997F62FF7D                          02-13-   Blacked        03-13-2018    04-17-2018   PA0002116738
           File Hash:                                                                     2022   Raw
           61A653C728709F98BA0ABA9E2B93802CF671AD12A19AA043CA4957404FD3BB01           03:32:32
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 4AD7251AF79D92EE4E0D443BDC60BEF82457E4EC                   01-16-   Tushy     08-04-2019   08-22-2019   PA0002195508
       File Hash:                                                              2022
       72956D86AC4BCED4BA8C9BB25799B73BA488CD84EDEE81C2F05C36B328D56C69    02:42:04
13     Info Hash: 5F75B9CECC4F3FEEA7CE46BEDA2B70A0BA267B19                   01-16-   Blacked   06-21-2019   08-27-2019   PA0002213241
       File Hash:                                                              2022   Raw
       98CDC17BC4D0A858192F41FD54802AA61EC55EE5616632DC63F7F18150DC90BA    01:43:57
14     Info Hash: 48CB4C30D04660582C75639C2DCC4DCAD30E4C38                   01-16-   Blacked   09-27-2019   10-07-2019   PA0002205468
       File Hash:                                                              2022
       7076A3FC2E6C1EB640EB00D981D0B089F53A78229A26DFB02936B0078A9EE169    01:43:23
15     Info Hash: 6F29294D9E162D63944F7402784D49689076D436                   12-25-   Tushy     12-07-2019   12-17-2019   PA0002217666
       File Hash:                                                              2021
       33354BE74793EF8BC0AF14EA6FD759BBA391760A228AC9F8BAFD8C007BCB8822    17:26:18
16     Info Hash: 2BE97DFA49EF767D94E4040239C494349D409C46                   12-25-   Blacked   01-30-2021   02-26-2021   PA0002283695
       File Hash:                                                              2021
       EBECDE01923BC5F8B50C0700F6BD81D8A5DCE5C823A61C812B675ED1D9613424    04:17:23
17     Info Hash: 1ED7894C730F91D284F9451A87ECDC8F5187BF50                   11-16-   Blacked   05-12-2018   05-24-2018   PA0002101380
       File Hash:                                                              2021   Raw
       38583D10BC13553F985C29BAE89EF5FBF0C3DE0603CF9C41C598EDB9A7D3426E    00:35:32
18     Info Hash: EE4E2D333BE36AA0973EFF24E5752B93B6A9CC70                   10-31-   Tushy     08-09-2018   09-05-2018   PA0002135685
       File Hash:                                                              2021
       8F91DA39430C2711DC1B6E92FB5E47B090DE8E67D9F33620B35E3F3ECA8DA5B4    23:24:34
19     Info Hash: 9E327416325533C3D0F6B592CD2F8F3F70FC1D0A                   10-31-   Blacked   11-21-2018   12-18-2018   PA0002141915
       File Hash:                                                              2021   Raw
       BB53292CCC77CAC9E8F30E027AC2F15221938C8CE0E3E907C5957FC576F75245    16:02:28
20     Info Hash: 1C9EF4F47C9DF31FC3FCBF658C0B811B1899F89C                   10-22-   Blacked   07-01-2018   07-26-2018   PA0002112161
       File Hash:                                                              2021   Raw
       586893E43CB7D0015D78CEB0A8BCD237A3DA3E6EA2BDE57CF7D7278B51BC54BC    23:59:56
21     Info Hash: 16532C1256F1D8936C056A44AAECF4E274B576EB                   10-22-   Blacked   03-13-2019   04-17-2019   PA0002186977
       File Hash:                                                              2021   Raw
       A96D177318D1B6E7045F96F5FC80064D60A1D95D1C3D2CB1273B78D2ED349D5D    23:59:20
22     Info Hash: 44F6C759F4752247486CF56C77F44FEA0E1065F2                   10-22-   Tushy     11-17-2017   01-04-2018   PA0002069336
       File Hash:                                                              2021
       B5F3A600958B723AD756C1824A61F32D79C2951D7DE7885026524896D4719DE7    23:58:50
23     Info Hash: 51E7F5813518D8443886B3AFA1F29A82481587CC                   04-23-   Tushy     02-25-2020   04-15-2020   PA0002245083
       File Hash:                                                              2021
       DDF4DAE7189A593533C7366692F2FAA2BBDD3E08E157B4CF4442147D23095782    06:27:36
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Work   Hashes                                                             UTC       Site    Published    Registered   Registration
24     Info Hash: AD5C18C1994C5C7C76E738EE43E039563A9A8BD2                   04-23- Vixen   11-15-2019   12-03-2019   PA0002232048
       File Hash:                                                              2021
       6C8BFD68D9A18180B8BCAC1B5CAF5ED59CA39E57F01E76638702D71B369E3134    02:53:53
25     Info Hash: D870E9A9EFB570C5601C29A4E0E1167ED5E3ABA4                   04-23- Tushy   05-26-2018   07-14-2018   PA0002128078
       File Hash:                                                              2021
       D09F57061C1E763BE9922FEA13E823573584D2E6CFFCD93DC125E3EC93CA2D3A    02:08:13
